Case: 4:15-cv-00536-CEJ Doc. #: 1-1 Filed: 03/26/15 Page: 1 of 39 PageID #: 5




 
 
                      EXHIBIT A 
     Case: 4:15-cv-00536-CEJ Doc. #: 1-1 Filed: 03/26/15 Page: 2 of 39 PageID #: 6


                   15SL-CC00432 - ALAN PRESSWOOD, D.C., V KABERLINE
                              HEALTHCARE ET A (E-CASE)




    02/27/2015          Certificate of Service
                        Certificate of Service of Discovery issued to Defendant Kaberline Healthcare
                        Informatics Inc.
                           Filed By: MAX GEORGE MARGULIS
                           On Behalf Of: ALAN PRESSWOOD, D.C., P.C.

    02/26/2015          Agent Served
                        Document ID - 15-SMCC-1052; Served To - KABERLINE HEALTHCARE
                        INFORMATICS, INC.; Server - CISSELL, KEVIN; Served Date - 25-FEB-15;
                        Served Time - 00:00:00; Service Type - Territory 16; Reason Description - Served;
                        Service Text - LC

    02/09/2015          Summons Issued-Circuit
                        Document ID: 15-SMCC-1052, for KABERLINE HEALTHCARE INFORMATICS,
                        INC.. Summons Attached in PDF Form for Attorney to Retrieve from Secure
                        Case.Net and Process for Service.

    02/06/2015          Filing Info Sheet eFiling
                            Filed By: MAX GEORGE MARGULIS

                        Note to Clerk eFiling
                            Filed By: MAX GEORGE MARGULIS

                        Pet Filed in Circuit Ct
                        Class Action Petition.

                        Motion Filed
                        Motion for Class Certification.
                          Filed By: MAX GEORGE MARGULIS
                          On Behalf Of: ALAN PRESSWOOD, D.C., P.C.

                        Judge Assigned
                        DIV 1


    Case.net Version 5.13.7.0                    Return to Top of Page                  Released 01/07/2015
 
                                                                                                   Electronically Filed - St Louis County - February 27, 2015 - 05:38 PM
  Case: 4:15-cv-00536-CEJ Doc. #: 1-1 Filed: 03/26/15 Page: 3 of 39 PageID #: 7



STATE OF MISSOURI             )
                              )
COUNTY OF ST. LOUIS           )

              IN THE CIRCUIT COURT OF THE COUNTY OF ST. LOUIS
                             STATE OF MISSOURI

 ALAN PRESSWOOD, D.C., P.C., individually and
 on behalf of all others similarly-situated,             Cause No. 15SL-CC00432

        Plaintiff,                                       Division 1

 v.

 KABERLINE HEALTHCARE INFORMATICS,
 INC.,
 and JOHN DOES 1-10,

        Defendants.

             CERTIFICATE OF SERVICE OF DISCOVERY ISSUED TO
           DEFENDANT KABERLINE HEALTHCARE INFORMATICS, INC.

       The undersigned certifies that Plaintiff’s First Set of Interrogatories to Defendant,

Plaintiff’s First Request for Admissions Directed to Defendant and Plaintiff’s First Request for

Production of Documents Directed to Defendant were served on the Defendant, Kaberline

Healthcare Informatics, by St. Louis County Sheriff on the 25th day of February, 2015.




                                    /s/ Max G. Margulis
                                  Max G. Margulis, #24325
                                 MARGULIS LAW GROUP
                                   28 Old Belle Monte Rd.
                                   Chesterfield, MO 63017
                               P: (636) 536-7022 - Residential
                               F: (636) 536-6652 - Residential
                          E-Mail: MaxMargulis@MargulisLaw.com
Case: 4:15-cv-00536-CEJ Doc. #: 1-1 Filed: 03/26/15 Page: 4 of 39 PageID #: 8
              Case: 4:15-cv-00536-CEJ Doc. #: 1-1 Filed: 03/26/15 Page: 5 of 39 PageID #: 9

             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                              Case Number: 15SL-CC00432
 ROBERT S COHEN
 Plaintiff/Petitioner:                                           Plaintiff’s/Petitioner’s Attorney/Address
  ALAN PRESSWOOD, D.C., P.C.                                     MAX GEORGE MARGULIS
                                                                 28 OLD BELLE MONTE ROAD
                                                           vs.   CHESTERFIELD, MO 63017
 Defendant/Respondent:                                           Court Address:                                                     SHERIFF FEE
  KABERLINE HEALTHCARE INFORMATICS,                              ST LOUIS COUNTY COURT BUILDING                                        PAID
 INC.                                                            7900 CARONDELET AVE
 Nature of Suit:                                                 CLAYTON, MO 63105
 CC Injunction                                                                                                                       (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: KABERLINE HEALTHCARE INFORMATICS, INC.
                                      Alias:
  11642 LILBURN PARK RD                                  SERVE WILLIAM WADE OR PERSON IN
  ST. LOUIS, MO 63146                                    CHARGE


        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                      file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                            SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                     notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739 or TTY at 314-615-4567, at least
                                     three business days in advance of the court proceeding.
      ST. LOUIS COUNTY

                                        09-FEB-2015                                           ______________________________________________
                                         Date                                                                      Clerk
                                       Further Information:
                                       TLC
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                   _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________            _____________________________________________
                                                                          Date                                       Notary Public
     Sheriff’s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary
     Supplemental Surcharge        $   10.00
     Mileage                       $                   (______ miles @ $.______ per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.
OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 15-SMCC-1052        1    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
             Case: 4:15-cv-00536-CEJ Doc. #: 1-1 Filed: 03/26/15 Page: 6 of 39 PageID #: 10

                             THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


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OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 15-SMCC-1052   2   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
             Case: 4:15-cv-00536-CEJ Doc. #: 1-1 Filed: 03/26/15 Page: 7 of 39 PageID #: 11

   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 7900 Carondelet Avenue, 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




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OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 15-SMCC-1052   3   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
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                                                                              15SL-CC00432
      Case: 4:15-cv-00536-CEJ Doc. #: 1-1 Filed: 03/26/15 Page: 8 of 39 PageID #: 12




STATE OF MISSOURI              )
                               )
ST. LOUIS COUNTY               )

                       IN THE CIRCUIT COURT OF THE ST. LOUIS COUNTY
                                    STATE OF MISSOURI

 ALAN PRESSWOOD, D.C., P.C., individually and on
 behalf of all others similarly-situated,                    Cause No. _______________

          Plaintiff,                                         Division

 v.

 KABERLINE HEALTHCARE INFORMATICS,                           ST. LOUIS COUNTY SHERIFF
 INC.,
       Serve: William Wade or Person in Charge
              11642 Lilburn Park Rd.
              St. Louis, MO, 63146
              St. Louis County

 JOHN DOES 1-10,

          Defendants.

                                   CLASS ACTION PETITION

         Plaintiff, ALAN PRESSWOOD, D.C., P.C. (“Plaintiff”), brings this action on behalf of

itself and all others similarly situated, through its attorneys, and except as to those allegations

pertaining to Plaintiff or its attorneys, which allegations are based upon personal knowledge,

alleges the following upon information and belief against Defendants, KABERLINE

HEALTHCARE INFORMATICS, INC., and JOHN DOES 1-10 (“Defendants”):

                                   PRELIMINARY STATEMENT

         1.      This case challenges Defendants’ practice of sending unsolicited facsimile

advertisements.




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                                                                                                        Electronically Filed - St Louis County - February 06, 2015 - 11:59 AM
   Case: 4:15-cv-00536-CEJ Doc. #: 1-1 Filed: 03/26/15 Page: 9 of 39 PageID #: 13




       2.      The federal Telephone Consumer Protection Act, 47 USC § 227, prohibits a person

or entity from sending or having an agent send fax advertisements without the recipient’s prior

express invitation or permission (“advertising faxes” or “unsolicited faxes”) and without a proper

opt out notice. The TCPA provides a private right of action and provides statutory damages of

$500 per violation.

       3.      Unsolicited faxes damage their recipients. An advertising fax recipient loses the

use of its fax machine, paper, and ink toner. An unsolicited fax wastes the recipient’s valuable

time that would have been spent on something else. An advertising fax interrupts the recipient’s

privacy. Unsolicited faxes prevent fax machines from receiving authorized faxes, prevent their use

for authorized outgoing faxes, cause undue wear and tear on the recipients’ fax machines, and

require additional labor to attempt to discern the source and purpose of the unsolicited message.

An advertising fax consumes a portion of the limited capacity of the telecommunications

infrastructure serving the victims of advertising faxing.

       4.      On behalf of itself and all others similarly situated, Plaintiff brings this case as a

class action asserting claims against Defendants under the TCPA, the common law of conversion

and Missouri consumer and fraud and deceptive business practices act Chapter 407.

       5.      Plaintiff seeks an award of statutory damages for each violation of the TCPA.

                                JURISDICTION AND PARTIES

       6.      This court has personal jurisdiction over Defendants because Defendants transacts

business within this state, have made contracts within this state, and/or have committed tortious

acts within this state and otherwise have sufficient minimum contacts with the State of Missouri.




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  Case: 4:15-cv-00536-CEJ Doc. #: 1-1 Filed: 03/26/15 Page: 10 of 39 PageID #: 14




       7.      Plaintiff ALAN PRESSWOOD, D.C., P.C., is a Missouri professional corporation

with its principal place of business in Missouri.

       8.      On    information    and    belief,      Defendant,   KABERLINE     HEALTHCARE

INFORMATICS, INC., is a corporation with its principal place of business in St. Louis County,

Missouri.

       9.      Defendant, John Does 1-10 will be identified through discovery, but are not

presently known.

                                       RELEVANT FACTS

       10.     On or about the dates of March 24, 2011, October 2, 2012, December 7, 2012,

January 14, 2013, February 5, 2013 May 28, 2013, July 6, 2013, December 16, 2013 and August

22, 2014. Defendants sent 8 unsolicited facsimiles to Plaintiff in Missouri. A true and correct copy

of the facsimiles are attached as Exhibits A – I (excluding any handwritten notations).

       11.     The transmissions sent to Plaintiff on or about March 24, 2011, October 2, 2012,

December 7, 2012, January 14, 2013, February 5, 2013 May 28, 2013, July 6, 2013, December 16,

2013 and August 22, 2014 constitutes material advertising the commercial availability of any

property, goods or services.

       12.     On information and belief, Defendant has sent other facsimile transmissions of

material advertising the commercial availability of property, goods, or services to many other

persons as part of a plan to broadcast fax advertisements, of which Exhibits A – I are examples.

       13.     Defendants approved, authorized and participated in the scheme to broadcast fax

advertisements by (a) directing a list to be purchased or assembled; (b) directing and supervising




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                                                                                                       Electronically Filed - St Louis County - February 06, 2015 - 11:59 AM
  Case: 4:15-cv-00536-CEJ Doc. #: 1-1 Filed: 03/26/15 Page: 11 of 39 PageID #: 15




employees or third parties to send the faxes; (c) creating and approving the form of fax to be sent;

and (d) determining the number and frequency of the facsimile transmissions.

       14.     Defendants created or made Exhibits A – I and other fax advertisements, which

Defendants distributed to Plaintiff and the other members of the class.

       15.     Exhibits A – I and the other facsimile advertisements are a part of Defendants’

work or operations to market Defendants’ goods or services which were performed by Defendants

and on behalf of Defendants.

       16.     Exhibits A – I and the other facsimile advertisements constitute material furnished

in connection with Defendants’ work or operations.

       17.     The transmission of facsimile advertisements, including Exhibits A – I, to Plaintiff

did not contain a notice that informs the recipient of the ability and means to avoid future

unsolicited advertisements.

       18.     The transmission of facsimile advertisements, including Exhibits A – I, to Plaintiff

did not contain a notice that states that the recipient may make a request to the sender of the

advertisement not to send any future advertisements to a telephone facsimile machine or machines

and that failure to comply, within 30 days, with such a request meeting the requirements under

paragraph 47 C.F.R. 64.1200(a)(3)(v) of this section is unlawful.

       19.     The transmission of facsimile advertisements, including Exhibits A – I, to Plaintiff

did not contain a notice that complied with the provisions of 47 U.S.C. § 227(b)(1)(C) and/or 47

C.F.R. 64.1200(a)(3).




                                                4
                                                                                                       Electronically Filed - St Louis County - February 06, 2015 - 11:59 AM
  Case: 4:15-cv-00536-CEJ Doc. #: 1-1 Filed: 03/26/15 Page: 12 of 39 PageID #: 16




       20.     The transmission of facsimile advertisements, including Exhibits A – I, to Plaintiff

was required to contain a notice that complied with the provisions of 47 U.S.C. § 227(b)(1)(C)

and/or 47 C.F.R. 64.1200(a)(3).

       21.     On information and belief, Defendants sent multiple facsimile advertisements to

Plaintiff and members of the proposed classes throughout the time period covered by the class

definitions.

       22.     On information and belief, Defendants faxed the same and other facsimile

advertisements to the members of the proposed classes in Missouri and throughout the United

States without first obtaining the recipients’ prior express permission or invitation.

       23.     There is no reasonable means for Plaintiff (or any other class member) to avoid

receiving unlawful faxes.       Fax machines are left on and ready to receive the urgent

communications their owners desire to receive.

       24.     Defendants knew or should have known that:              (a) facsimile advertisements,

including Exhibits A – I were advertisements; (b) Plaintiff and the other members of the class had

not given their prior permission or invitation to receive facsimile advertisements; (c) No

established business relationship existed with Plaintiff and the other members of the class; and (d)

Defendants did not display a proper opt out notice.

       25.     Defendants engaged in the transmissions of facsimile advertisements, including

Exhibits A – I believing such transmissions were legal based on Defendants’ own understanding of

the law and/or based on the representations of others on which Defendants reasonably relied.

       26.     Defendants did not intend to send transmissions of facsimile advertisements,

including Exhibits A – I to any person where such transmission was not authorized by law or by




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                                                                                                       Electronically Filed - St Louis County - February 06, 2015 - 11:59 AM
  Case: 4:15-cv-00536-CEJ Doc. #: 1-1 Filed: 03/26/15 Page: 13 of 39 PageID #: 17




the recipient, and to the extent that any transmissions of facsimile advertisement was sent to any

person and such transmission was not authorized by law or by the recipient, such transmission was

made based on either Defendants’ own understanding of the law and/or based on the

representations of others on which Defendants reasonably relied.

       27.     Defendants failed to correctly determine the legal restrictions on the use of

facsimile transmissions and the application of those restrictions to the transmission of facsimile

advertisements, including Exhibits A – I both to others in general, and specifically to Plaintiff.

       28.     The transmissions of facsimile advertisements, including Exhibits A – I to Plaintiff

and other members of the class caused destruction of Plaintiff's property.

       29.     The transmissions of facsimile advertisements, including Exhibits A – I to Plaintiff

and other members of the class interfered with Plaintiff's and other members of the class’ exclusive

use of their property.

       30.     The transmissions of facsimile advertisements, including Exhibits A – I to Plaintiff

and other members of the class interfered with Plaintiff's and other members of the class’ business

and/or personal communications.

                                COUNT I
              TELEPHONE CONSUMER PROTECTION ACT, 47 U.S.C. § 227

       31.     Plaintiff incorporates the preceding paragraphs as though fully set forth herein.

       32.     Plaintiff brings Count I pursuant to the Telephone Consumer Protection Act, 47

U.S.C. § 227, on behalf of the following class of persons:

               All persons who (1) on or after four years prior to the filing of this action, (2)
               were sent by or on behalf of Defendants any telephone facsimile
               transmissions of material making known the commercial existence of, or
               making qualitative statements regarding any property, goods, or services (3)
               with respect to whom Defendants cannot provide evidence of prior express



                                                 6
                                                                                                 Electronically Filed - St Louis County - February 06, 2015 - 11:59 AM
Case: 4:15-cv-00536-CEJ Doc. #: 1-1 Filed: 03/26/15 Page: 14 of 39 PageID #: 18




          permission or invitation for the sending of such faxes, (4) with whom
          Defendants does not have an established business relationship or (5) which
          did not display a proper opt out notice.

   33.    A class action is warranted because:

          a.     On information and belief, the class includes more than forty persons and is

          so numerous that joinder of all members is impracticable.

          b.     There are questions of fact or law common to the class predominating over

          questions affecting only individual class members, including without limitation:

                 i.     Whether Defendants engaged in a pattern of sending unsolicited fax

                 advertisements;

                 ii.    Whether Exhibits A – I and other faxes transmitted by or on behalf

                 of Defendant contain material advertising the commercial availability of any

                 property, goods or services;

                 iii.   Whether     Defendants’     facsimiles   advertised   the   commercial

                 availability of property, goods, or services;

                 iv.    The manner and method Defendants used to compile or obtain the

                 list of fax numbers to which they sent Exhibits A – I and other unsolicited

                 faxed advertisements;

                 v.     Whether Defendants faxed advertisements without first obtaining the

                 recipients’ prior express permission or invitation;

                 vi.    Whether Defendants violated the provisions of 47 USC § 227;

                 vii.   Whether Plaintiff and the other class members are entitled to

                 statutory damages;




                                           7
                                                                                                        Electronically Filed - St Louis County - February 06, 2015 - 11:59 AM
  Case: 4:15-cv-00536-CEJ Doc. #: 1-1 Filed: 03/26/15 Page: 15 of 39 PageID #: 19




                       viii.   Whether Defendants knowingly violated the provisions of 47 USC §

                       227;

                       ix.     Whether Defendants should be enjoined from faxing advertisements

                       in the future;

                       x.      Whether the Court should award trebled damages; and

                       xi.     Whether Exhibits A – I and the other fax advertisements sent by or

                       on behalf of Defendants displayed the proper opt out notice required by 64

                       C.F.R. 1200.

               c.      Plaintiff’s claims are typical of the other class members.

               d.      Plaintiff will fairly and adequately protect the interests of the other class

               members. Plaintiff’s counsel are experienced in handling class actions and claims

               involving unsolicited advertising faxes. Neither Plaintiff nor Plaintiff’s counsel has

               any interests adverse or in conflict with the absent class members.

               e.      A class action is the superior method for adjudicating this controversy fairly

               and efficiently. The interest of each individual class member in controlling the

               prosecution of separate claims is small and individual actions are not economically

               feasible.

       34.     Plaintiff will fairly and adequately protect the interests of the other class members.

Plaintiff’s counsel are experienced in handling class actions and claims involving unsolicited

advertising faxes. Neither Plaintiff nor Plaintiff’s counsel has any interests adverse or in conflict

with the absent class members.




                                                 8
                                                                                                       Electronically Filed - St Louis County - February 06, 2015 - 11:59 AM
  Case: 4:15-cv-00536-CEJ Doc. #: 1-1 Filed: 03/26/15 Page: 16 of 39 PageID #: 20




       35.     A class action is an appropriate method for adjudicating this controversy fairly and

efficiently. The interest of each individual class member in controlling the prosecution of separate

claims is small and individual actions are not economically feasible.

       36.     The TCPA prohibits the “use of any telephone facsimile machine, computer or

other device to send an unsolicited advertisement to a telephone facsimile machine….” 47 U.S.C.

§ 227(b)(1).

       37.     The TCPA defines “unsolicited advertisement,” as “any material advertising the

commercial availability or quality of any property, goods, or services which is transmitted to any

person without that person’s express invitation or permission.” 47 U.S.C. § 227(a)(4).

       38.     The TCPA provides:

               Private right of action. A person may, if otherwise permitted by the laws or
               rules of court of a state, bring in an appropriate court of that state:

               (A)     An action based on a violation of this subsection or the regulations
               prescribed under this subsection to enjoin such violation,

               (B)     An action to recover for actual monetary loss from such a violation,
               or to receive $500 in damages for each such violation, whichever is greater,
               or

               (C)    Both such actions.

       39.     The Court, in its discretion, may treble the statutory damages if the violation was

knowing. 47 U.S.C. § 227.

       40.     The TCPA is a strict liability statute and the Defendants are liable to Plaintiff and

the other class members even if their actions were only negligent.

       41.     Defendants’ actions caused damages to Plaintiff and the other class members.

Receiving Defendants’ advertising faxes caused the recipients to lose paper and toner consumed in




                                                9
                                                                                                         Electronically Filed - St Louis County - February 06, 2015 - 11:59 AM
   Case: 4:15-cv-00536-CEJ Doc. #: 1-1 Filed: 03/26/15 Page: 17 of 39 PageID #: 21




the printing of Defendants’ faxes. Moreover, Defendants’ actions interfered with Plaintiff’s use of

its fax machine and telephone line connected to that fax machine. Defendants’ faxes cost Plaintiff

time, as Plaintiff and/or its employees wasted their time receiving, reviewing and routing

Defendants’ unlawful faxes. That time otherwise would have been spent on Plaintiff’s business

activities.   Finally, Defendants’ faxes unlawfully interrupted Plaintiff’s and the other class

members’ privacy interests in being left alone.

        42.     Defendants did not intend to cause damage to Plaintiff and the other class members,

did not intend to violate their privacy, and did not intend to interfere with recipients’ fax machines

or consume the recipients’ valuable time with Defendants’ advertisements.

        43.     If the court finds that Defendants knowingly violated this subsection or the

regulations prescribed under this subsection, the court may, in its discretion, increase the amount

of the award to an amount equal to not more than three times the amount available under

subparagraph (B) of this paragraph. 47 U.S.C. § 227(b)(3).

        44.     Defendants knew or should have known that: (A) Plaintiff and the other class

members had not given express permission or invitation for Defendants or anyone else to fax

advertisements about Defendants’ goods or services, (B) Defendants did not have an established

business relationship with Plaintiff and the other members of the class, (C) Exhibits A – I and the

other facsimile advertisements were advertisements, and (D) Exhibits A – I and the other facsimile

advertisements did not display the proper opt out notice.

        45.     Defendants violated 47 U.S.C. § 227 et seq. by transmitting Exhibits A – I and the

other facsimile advertisements hereto to Plaintiff and the other members of the class without




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  Case: 4:15-cv-00536-CEJ Doc. #: 1-1 Filed: 03/26/15 Page: 18 of 39 PageID #: 22




obtaining their prior express permission or invitation and not displaying the proper opt out notice

required by 64 C.F.R. 1200.

          46.   Defendants knew or should have known that: (a) documents Exhibits A – I and the

other facsimile advertisements were advertisements; (b) Defendants did not obtain prior

permission or invitation to send facsimile advertisements, including Exhibits A – I; (c) Defendants

did not have an established business relationship with Plaintiff or the other members of the class

and (d) Exhibits A – I and the other facsimile advertisements did not display a proper opt out

notice.

          47.   Defendants engaged in the transmissions of documents Exhibits A – I and the other

facsimile advertisements believing such transmissions were legal based on Defendants’ own

understanding of the law and/or based on the representations of others on which Defendants

reasonably relied.

          48.   Defendants did not intend to send transmissions of documents Exhibits A – I and

the other facsimile advertisements to any person where such transmission was not authorized by

law or by the recipient, and to the extent that any transmissions of documents Exhibits A – I and

the other facsimile advertisements were sent to any person and such transmission was not

authorized by law or by the recipient, such transmission was made based on either Defendants’

own understanding of the law and/or based on the representations of others on which Defendants

reasonably relied.

          49.   Defendants failed to correctly determine the legal restrictions on the use of

facsimile transmissions and the application of those restrictions to the transmission of documents




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   Case: 4:15-cv-00536-CEJ Doc. #: 1-1 Filed: 03/26/15 Page: 19 of 39 PageID #: 23




Exhibits A – I and the other facsimile advertisements both to others in general, and specifically to

Plaintiff.

        50.     Defendants’ actions caused damages to Plaintiff and the other class members,

because their receipt of Defendants’ unsolicited fax advertisements caused them to lose paper and

toner consumed as a result. Defendants’ actions prevented Plaintiff’s fax machine from being used

for Plaintiff’s business purposes during the time Defendants were using Plaintiff’s fax machine for

Defendants’ unauthorized purpose. Defendants’ actions also cost Plaintiff employee time, as

Plaintiff’s employees used their time receiving, routing and reviewing Defendants’ unauthorized

faxes and that time otherwise would have been spent on Plaintiff’s business activities. Finally, the

injury and property damage sustained by Plaintiff and the other members of the class occurred

outside of Defendants’ premises. Pursuant to law, Plaintiff, and each class member, instead may

recover $500 for each violation of the TCPA.

        WHEREFORE, Plaintiff, ALAN PRESSWOOD, D.C., P.C., individually and on behalf of

all others similarly situated, demand judgment in its favor and against Defendants, KABERLINE

HEALTHCARE INFORMATICS, INC. and JOHN DOES 1-10, as follows:

        A.      That the Court adjudge and decree that the present case may be properly maintained

as a class action, appoint Plaintiff as the representative of the class, and appoint Plaintiff’s counsel

as counsel for the class;

        B.      That the Court award between $500.00 and $1,500.00 in damages for each violation

of the TCPA;

        C.      That the Court enter an injunction prohibiting the Defendants from engaging in the

statutory violations at issue in this action; and




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                                                                                                         Electronically Filed - St Louis County - February 06, 2015 - 11:59 AM
  Case: 4:15-cv-00536-CEJ Doc. #: 1-1 Filed: 03/26/15 Page: 20 of 39 PageID #: 24




          D.    That the Court award costs and such further relief as the Court may deem just and

proper.

          E.    That the Court award pre-judgment and post-judgment interest at the statutory rate

of 9%.

                                            COUNT II
                                           CONVERSION

          51.   Plaintiff incorporates Paragraphs 3 and 4, 10, 13 – 16, 21 – 23 and 25 – 30 as for its

paragraph 51.

          52.   Plaintiff brings Count II for conversion under the common law for the following

class of persons:

                All persons who on or after five years prior to the filing of this action, were
                sent telephone facsimile messages by or on behalf of Defendants with respect
                to whom Defendants cannot provide evidence of prior express permission or
                invitation.

          53.   A class action is proper in that:

                a.     On information and belief the class is so numerous that joinder of all

                members is impracticable.

                b.     There are questions of fact or law common to the class predominating over

                all questions affecting only individual class members, including:

                       i.       Whether Defendants engaged in a pattern of sending unsolicited

                       faxes;

                       ii.      Whether Defendants sent faxes without obtaining the recipients’

                       prior express permission or invitation of the faxes;




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  Case: 4:15-cv-00536-CEJ Doc. #: 1-1 Filed: 03/26/15 Page: 21 of 39 PageID #: 25




                        iii.     The manner and method Defendants used to compile or obtain the

                        list of fax numbers to which it sent Exhibits A – I and other unsolicited

                        faxes;

                        iv.      Whether Defendants committed the tort of conversion; and

                        v.       Whether Plaintiff and the other class members are entitled to recover

                        actual damages and other appropriate relief.

                c.      Plaintiff’s claims are typical of the other class members.

                d.      Plaintiff will fairly and adequately protect the interests of the other class

                members. Plaintiff’s counsel are experienced in handling class actions and claims

                involving unsolicited advertising faxes. Neither Plaintiff nor Plaintiff’s counsel has

                any interests adverse or in conflict with the absent class members.

                e.      A class action is the superior method for adjudicating this controversy fairly

                and efficiently. The interest of each individual class member in controlling the

                prosecution of separate claims is small and individual actions are not economically

                feasible.

        54.     Plaintiff will fairly and adequately protect the interests of the other class members.

Plaintiff has retained counsel who is experienced in handling class actions and claims involving

unlawful business practices. Neither Plaintiff nor Plaintiff’s counsel have any interests adverse or

in conflict with the class.

        55.     A class action is an appropriate method for adjudicating this controversy fairly and

efficiently. The interest of the individual class members in individually controlling the prosecution

of separate claims is small and individual actions are not economically feasible.




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   Case: 4:15-cv-00536-CEJ Doc. #: 1-1 Filed: 03/26/15 Page: 22 of 39 PageID #: 26




        56.     By sending Plaintiff and the other class members unsolicited faxes, Defendants

improperly and unlawfully converted their fax machines, toner and paper to its own use.

Defendants also converted Plaintiff’s employees’ time to Defendants’ own use.

        57.     Immediately prior to the sending of the unsolicited faxes, Plaintiff, and the other

class members owned an unqualified and immediate right to possession of their fax machine,

paper, toner, and employee time.

        58.     By sending the unsolicited faxes, Defendants permanently misappropriated the class

members’ fax machines, toner, paper, and employee time to Defendants’ own use.                Such

misappropriation was wrongful and without authorization.

        59.     Defendants knew or should have known that its misappropriation of paper, toner,

and employee time was wrongful and without authorization.

        60.     Plaintiff and the other class members were deprived of the use of the fax machines,

paper, toner, and employee time, which could no longer be used for any other purpose. Plaintiff

and each class member thereby suffered damages as a result of the sending of unsolicited fax

advertisements from Defendants.

        61.     Each of Defendants’ unsolicited faxes effectively stole Plaintiff’s employees’ time

because persons employed by Plaintiff were involved in receiving, routing, and reviewing

Defendants’ unlawful faxes. Defendants knew or should have known employees’ time is valuable

to Plaintiff.

        62.     Defendants’ actions caused damages to Plaintiff and the other members of the class

because their receipt of Defendants’ unsolicited faxes caused them to lose paper and toner as a

result. Defendants’ actions prevented Plaintiff’s fax machines from being used for Plaintiff’s




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  Case: 4:15-cv-00536-CEJ Doc. #: 1-1 Filed: 03/26/15 Page: 23 of 39 PageID #: 27




business purposes during the time Defendants was using Plaintiff’s fax machines for Defendants’

unlawful purpose. Defendants’ actions also cost Plaintiff employee time, as Plaintiff’s employees

used their time receiving, routing, and reviewing Defendants’ unlawful faxes, and that time

otherwise would have been spent on Plaintiff’s business activities.

       WHEREFORE, Plaintiff, ALAN PRESSWOOD, D.C., P.C., individually and on behalf of

all others similarly situated, demand judgment in its favor and against Defendants, KABERLINE

HEALTHCARE INFORMATICS, INC. and JOHN DOES 1-10, jointly and serverally, as follows:

       A.       That the Court adjudge and decree that the present case may be properly maintained

as a class action, appoint Plaintiff as the representative of the class, and appoint Plaintiff’s counsel

as counsel for the class;

       B.       That the Court award appropriate damages;

       C.       That the Court award costs of suit; and

       D.       Awarding such further relief as the Court may deem just and proper.

                            COUNT III
   MISSOURI CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT
                            Chapter 407

       63.      Plaintiff incorporates Paragraphs 3 and 4, 10, 13 – 16, 21 – 23 and 25 – 30 as for its

paragraph 63.

       64.      In accordance with Chapter 407, Plaintiff, on behalf of the following class of

persons, bring Count III for Defendants’ unfair practice of sending unsolicited and unlawful fax

advertisements:

                All persons who on or after four years prior to the filing of this action, were
                sent telephone facsimile messages by or on behalf of Defendants with respect
                to whom Defendants cannot provide evidence of prior express permission or
                invitation.



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Case: 4:15-cv-00536-CEJ Doc. #: 1-1 Filed: 03/26/15 Page: 24 of 39 PageID #: 28




   65.    A class action is proper in that:

          a.     On information and belief the class consists of over 40 persons in Missouri

          and throughout the United States and is so numerous that joinder of all members is

          impracticable.

          b.     There are questions of fact or law common to the class predominating over

          all questions affecting only individual class members including:

                 i.        Whether Defendants engaged in a pattern of sending unsolicited

                 faxes;

                 ii.       The manner and method Defendants used to compile or obtain the

                 list of fax numbers to which it sent Exhibits A – I and other unsolicited

                 faxes;

                 iii.      Whether Defendants’ practice of sending unsolicited faxes violates

                 Missouri public policy;

                 iv.       Whether Defendants’ practice of sending unsolicited faxes is an

                 unfair practice under the Missouri Merchandising Practices Act (MMPA),

                 Chapter 407 RSMO; and

                 v.        Whether Defendants should be enjoined from sending unsolicited

                 fax advertising in the future.

                 vi.

          c.     Plaintiff’s claims are typical of the other class members.




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  Case: 4:15-cv-00536-CEJ Doc. #: 1-1 Filed: 03/26/15 Page: 25 of 39 PageID #: 29




               d.      Plaintiff will fairly and adequately protect the interests of the other class

               members. Plaintiff’s counsel are experienced in handling class actions and claims

               involving unsolicited advertising faxes. Neither Plaintiff nor Plaintiff’s counsel has

               any interests adverse or in conflict with the absent class members.

               e.      A class action is the superior method for adjudicating this controversy fairly

               and efficiently. The interest of each individual class member in controlling the

               prosecution of separate claims is small and individual actions are not economically

               feasible.

       66.     Plaintiff will fairly and adequately protect the interests of the other class members.

Plaintiff has retained counsel who are experienced in handling class actions and claims involving

lawful business practices. Neither Plaintiff nor Plaintiff’s counsel have any interests adverse or in

conflict with the class.

       67.     A class action is an appropriate method for adjudicating this controversy fairly and

efficiently. The interest of the individual class members in individually controlling the prosecution

of separate claims is small and individual actions are not economically feasible.

       68.     Defendants’ unsolicited fax practice is an unfair practice, because it violates public

policy, and because it forced Plaintiff and the other class members to incur expense without any

consideration in return.   Defendants’ practice effectively forced Plaintiff and the other class

members to pay for Defendants’ advertising campaign.

       69.     Defendants violated the unfairness predicate of the Act by engaging in an

unscrupulous business practice and by violating Missouri statutory public policy, which public

policy violations in the aggregate caused substantial injury to hundreds of persons.




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  Case: 4:15-cv-00536-CEJ Doc. #: 1-1 Filed: 03/26/15 Page: 26 of 39 PageID #: 30




       70.     Defendants’ misconduct caused damages to Plaintiff and the other members of the

class, including the loss of paper, toner, ink, use of their facsimile machines, and use of their

employees’ time.

       71.     Defendants’ actions caused damages to Plaintiff and the other class members

because their receipt of Defendants’ unsolicited faxes caused them to lose paper and toner

consumed as a result. Defendants’ actions prevented Plaintiff’s fax machine from being used for

Plaintiff’s business purposes during the time Defendants were using Plaintiff's fax machine for

Defendants’ unlawful purpose.        Defendants’ actions also cost Plaintiff employee time, as

Plaintiff’s employees used their time receiving, routing, and reviewing Defendants’ unlawful faxes

and that time otherwise would have been spent on Plaintiff’s business activities.



       WHEREFORE, Plaintiff, ALAN PRESSWOOD, D.C., P.C., individually and on behalf of

all others similarly situated, demand judgment in its favor and against Defendants, KABERLINE

HEALTHCARE INFORMATICS, INC. and JOHN DOES 1-10, as follows:

       A.      That the Court adjudge and decree that the present case may be properly maintained

as a class action, appoint Plaintiff as the class representative, and appoint Plaintiff’s counsel as

counsel for the class;

       B.      That the Court award damages to Plaintiff and the other class members;

       C.      That the Court award treble damages to Plaintiff and the other class members for

               knowing violations of the TCPA;

       D.      That the Court declare that Defendants’ conduct violated the TCPA and that this

               action is just and proper;




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  Case: 4:15-cv-00536-CEJ Doc. #: 1-1 Filed: 03/26/15 Page: 27 of 39 PageID #: 31




      E.    That the Court award damages for conversion of the plaintiffs and the class for

            violation of their rights;

      F.    That the Court award damages and attorney fees for violation of Chapter 407;

      G.    That the Court award attorney fees and costs;

      H.    That the Court award all expenses incurred in preparing and prosecuting these

            claims;

      I.    That the Court enter an injunction prohibiting Defendants from sending faxed

            advertisements; and

      J.    Awarding such further relief as the Court may deem just and proper.


                            Respectfully submitted,


                                   /s/ Max G. Margulis
                                  Max G. Margulis, #24325
                               MARGULIS LAW GROUP
                                  28 Old Belle Monte Rd.
                                  Chesterfield, MO 63017
                             P: (636) 536-7022 – Residential
                             F: (636) 536-6652 – Residential
                          E-Mail: MaxMargulis@MargulisLaw.com
                                   Attorneys for Plaintiff


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                 January 6,2014: Payers begin receiving and processing paper
                claims submitted on the revised CMS 1500 Claim Form using ICD-9
                codes.

            * January 6,2014 through March 31,2014: Dual use period during
            which payers continue to receive and process paper claims submitted
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                on the old CMS 1500 Claim Form using ICD-9 codes and the new
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             * April 1,2014: Payers receive and process paper claims submitted
            &o on the revised CMS 1500 Claim Form using ICD-9 codes until
                October 1,2014. After that date only ICD-10 codes will be accepted.

            1 This timeline found on www.nw.org aligns with Medicare's transition timeline.
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            I                        CMS 1500 claim form are not always in the budget. Therefore we                            I
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                            Case: 4:15-cv-00536-CEJ Doc. #: 1-1 Filed: 03/26/15 Page: 36 of 39 PageID #: 40




30%Off Lytec upgrades purchased by Sept. 30th
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      e ICD-10 codes will be mandatory afier October 1: 2015.
That deadline will be upon us very quickly. We hightiy recornmend your staff snd providers gradually begin to learn and
utilize a fevi new ICD-10 codes each w e k . You need the upcoming months to get comfortable with, and to understand the
new expanded ICD-10 codes. You also need to initiats testing of your electionic insurance claims in advance. DON'T WAIT I

If you order Lflec 2015 in advance today, you will receive the cun-ent Lytec 2014 version immediately, incl~dingICD-40
readiness and the new CMS 4 500 02!2012 Claim Form at no additional cost.
As an incentive, we are also offering a special discount. For a very limited time. you will receive 30% OFF the Lytec
practice management system. PLUS I<aberline Heallhcare Informatics will be there to help ycu along the way ky providing FREE
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The transition from ICD9 to ICD-10 will significantly impact your practice's workflow, and Lytec can help you manage ~e changes. With Lytec 2014,                                                                                     g
you can take advantage of several featuras that are designed to reduce manual eniry and minimize the complexiy of ICO-9to ICD-10 mapping.
With this release, you bvill be able to:
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           Set tne code versian by insurance carrier so you czn continue to use ICO-9 codes for carriers who \vill not have Irsnsitioned
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            by October 1, 2015                                                                                                                                                                                                        ij3
           Receive a notification if the wrong code is used for a carrier                                                                                                                                                             Y


           Use a mapping tool based on GNIS's General Equivalent Mappings (GEM) to translate many ICD-9 codes to ICD-40
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In addition to ICD-10 readiness, wnen you purchase today you get all the bitling, scheduling and patient accounting enhancements currently available
in Lytec, including Lytec Mobile. With this no-fee application for the iPad@ and iPhone@: you can use your phone or tablet to view your schedule and
to transmit charges, diagnosis codes and notes to your frontdesk or biller.
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For more information on lhis spscial offer, please contact
Kaberline Healthcare Informatics, Inc.
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Case: 4:15-cv-00536-CEJ Doc. #: 1-1 Filed: 03/26/15 Page: 37 of 39 PageID #: 41 15SL-CC00432

               IN THE CIRCUIT COURT OF THE COUNTY OF ST. LOUIS
                              STATE OF MISSOURI

ALAN PRESSWOOD, D.C., P.C., individually and on
behalf of all others similarly-situated,                       Cause No. _______________

       Plaintiff,                                              Division

v.

KABERLINE HEALTHCARE INFORMATICS,
INC.,
and
JOHN DOES 1-10,

       Defendants.

                         MOTION FOR CLASS CERTIFICATION 1

       COMES NOW Plaintiff, individually and on behalf of all others similarly situated, by

and through its undersigned counsel, and for its Motion for Class Certification, states

       1.      This cause should be certified as a class because all of the necessary elements of

Rule 52.08 are met.

       2.      Plaintiff requests that the Court certify a class, so the common claims of the Class


1.      Recent developments in class action practice make necessary the filing of this motion
with the petition. Defendants in class litigation have resorted to making individual settlement
offers to named plaintiffs before a class action is certified in an attempt to “pick-off” the putative
class representative and thereby derail the class action litigation. Most courts have rejected these
pick-off attempts and have held that the filing of a motion for class certification with the initial
petition or within a number of days after service of any settlement offer to a named plaintiff
staves off offers of judgment to the named plaintiff. Any settlement offer made after the filing of
the motion for class certification must be made on a class-wide basis. See Alpern v. UtiliCorp
United, 84 F.3d 1525 (8th Cir. 1996); Weiss v. Regal Collections, 385 F. 3d 337, 344 n. 12 (3d
Cir. 2004); see Jancik v. Cavalry Portfolio Servs., 2007 WL 1994026, at *2–3 (D. Minn. July 3,
2007) Harris v. Messerli & Kramer, P.A., 2008 WL 508923, at *2–3 (D. Minn. Jan. 2, 2008)
(same); Johnson v. U.S. Bank Nat’l Assn., 276 F.R.D. 330, 333-335 (D. Minn. 2011) (same). See
also Lucero v. Bureau of Collection Recovery, Inc., 639 F.3d 1239, 1249 (10th Cir. 2011); Mey
v. Monitronics Int’l, Inc., 2012 WL 983766, at * 4-5 (N.D. W.Va. Mar. 22, 2012); Hrivnak v.
NCO Portfolio Mgmt., Inc., 723 F.Supp.2d 1020, 1029 (N.D. Ohio 2010); McDowall v. Cogan,
216 F.R.D. 46, 48-50 (E.D. N.Y. 2003).
2.
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Case: 4:15-cv-00536-CEJ Doc. #: 1-1 Filed: 03/26/15 Page: 38 of 39 PageID #: 42



members, based on a uniform legal theory and factual allegations applicable to all Class

members, can be resolved on a class-wide basis.

        3.      Plaintiff proposes the following Class definition:

                All persons who on or after four years prior to the filing of this action, were
                sent telephone facsimile messages of material advertising medical software
                by or on behalf of Defendants.

        4.      Under Rule 52.08(a)(1), to bring a Class action, the Class must be “so numerous

that joinder of all members is impracticable.” Rule 52.08(a)(1). Here, there are at least hundreds

of persons who fall within the Class definition. Thus, the numerosity requirement of Rule

52.08(a)(1) is satisfied.

        5.      There are questions of law or fact common to the Class members.

        6.      The claims or defenses of the representative parties are typical of the claims or

defenses of this Class.

        7.      Plaintiff and its counsel will fairly and adequately protect the interest of the Class.

        8.      Common issues of law or fact predominate over any individual issues, and a class

action is the superior method for the fair and efficient adjudication of this controversy.

        9.      The prosecution of separate actions by individual members of the class would

create a risk of inconsistent or varying adjudications which would establish incompatible

standards of conduct for the party opposing the class.

        10.     The prosecution of separate actions by individual members of the class would

create a risk of adjudications with respect to individual members of the class which would as a

practical matter be dispositive of the interests of the other members not parties to the

adjudications or substantially impair or impede their ability to protect their interests.

        11.     Plaintiff requests additional time to file its supporting Memorandum of Law after

the Court sets up an appropriate discovery schedule.            Written discovery related to class

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Case: 4:15-cv-00536-CEJ Doc. #: 1-1 Filed: 03/26/15 Page: 39 of 39 PageID #: 43



certification issues is presently outstanding.

       WHEREFORE, Plaintiff prays that this Court certify this case as a class action, grant

statutory injunctive relief prohibiting Defendants from sending advertising materials via fax to

members of the class, and further pray that the Court appoint Plaintiff as Class Representative,

appoint Plaintiff’s attorneys Class Counsel; that this Court allow Plaintiff additional time, for

completion of discovery related to class certification issues, to file its Memorandum of Law in

Support of this Motion; and for such other and further relief as the Court deems appropriate

under the circumstances.

       Respectfully submitted,

                                     /s/ Max G. Margulis
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                                         Chesterfield, MO 63017
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                                    F: (636) 536-6652 - Residential
                                E-Mail: MaxMargulis@MargulisLaw.com

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       Fax: (847) 368-1501
       E-Mail: bwanca@andersonwanca.com


                                     CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing was served on the Defendant KABERLINE
HEALTHCARE INFORMATICS, INC. by the Sheriff of St. Louis County at the same time as
the petition.

                                       /s/ Max G. Margulis




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